Case 2:05-Cr-20282-BBD Document 18 Filed 08/10/05 Page 1 of 2 Page|D 24

 

 

 

 

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lN THE UNITED sTATEs DISTRICT COURT %m"
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG l 0 gm ;g- 5
WESTERN DIVISION “ ‘ 5
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UNITED sTATEs oF AMERICA tim ai

v. 05-20232-04-1)

TERESIA slMPsoN

om)ER oN ARRAIGNMENT
This cause came to be heard o /6 67 the United States Attorney

for this district appeared on behalf of the go e ent, d the defendant appeared in person and with
counsel:

NAMM% 757 _` A/ @%who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal pn'soner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:371&18:1343 & 2;
U. S. Attorney assigned to Case: C. McMullen
Age: 27

t'm`s document entered on the docket sh
with Rule 55 and/or 32{b) FF|CrP on §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l8 in
case 2:05-CR-20282 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

